                        IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                STATESVILLE DIVISION
                         CIVIL ACTION NO. 5:18-CV-075-KDB-DCK

 BENJAMIN REETZ,                                    )
                                                    )
                      Plaintiff,                    )
                                                    )
       v.                                           )         ORDER
                                                    )
 LOWE’S COMPANIES, INC., et al.,                    )
                                                    )
                      Defendant.                    )
                                                    )

            THIS MATTER IS BEFORE THE COURT on the “Motion For Admission Pro Hac

Vice And Affidavit” (Document No. 98) filed by Nicholas H. Lee, concerning William D. Pollak

on November 6, 2020. William D. Pollak seeks to appear as counsel pro hac vice for Defendant

Aon Hewitt Investment Consulting, Inc. Upon review and consideration of the motion, which was

accompanied by submission of the necessary fee and information, the Court will grant the motion.

            IT IS, THEREFORE, ORDERED that in accordance with Local Rule 83.1, the “Motion

For Admission Pro Hac Vice And Affidavit” (Document No. 98) is GRANTED. William D.

Pollak is hereby admitted pro hac vice to represent Defendant Aon Hewitt Investment Consulting,

Inc.

                                   Signed: November 9, 2020




        Case 5:18-cv-00075-KDB-DCK Document 100 Filed 11/09/20 Page 1 of 1
